        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 1 of 47




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

KL, a minor, by and through his
parents and natural guardians,
JOSEPH and STACEY LOCKER
                 Plaintiffs
vs.

DUNMORE SCHOOL DISTRICT,                           JURY TRIAL DEMANDED

CHRISTOPHER LUCAS, in his
Official and Individual capacities,                (Electronically Filed)

KRISTIE MALDONADO,
individually and as parents and
natural guardians of JM, a minor,
                  Defendants

                                  COMPLAINT

      AND NOW, come the Plaintiffs JOSEPH and STACEY LOCKER, as parents

and natural guardians of KL, by and through their attorneys, Jason J. Mattioli,

Esquire, Michael J. Ossont, Esquire and David S. Sweetman, Esquire of the Mattioli

Law Firm, and files the following Complaint against DUNMORE SCHOOL

DISTRICT (hereinafter referred to as “Dunmore”); CHRISTOPHER LUCAS

(hereinafter “Lucas”) both in his official and individual capacities, and KRISTIE

MALDONADO (hereinafter referred to as “Maldonado) both individually and as

parent and natural guardian of JM, a minor and in support thereof avers as follows:




                                         1
           Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 2 of 47




                                 INTRODUCTION

      1.      This action is brought by a minor student, KL, who is eligible for

special education services as a child with disabilities with the Dunmore School

District, by and through his parents Joseph Locker (Father) and Stacey Locker

(Mother), referred to collectively as Plaintiffs.

      2.      Dunmore as well as Lucas have violated KL’s Civil Rights under

Section 1983 and the 14th Amendment, and intentionally discriminated against KL,

a handicapped person, and therefore seek damages under the Americans with

Disabilities Act, 42 U.S.C. Section 12111 (ADA) and Section 504 of the

Rehabilitation Act of 1973 (Section 504), 29 U.S.C.A. Section 794, Title IV and

Pennsylvania law.

      3.      Plaintiffs also bring related claims including common law claims for

negligence, intentional infliction of emotional distress, vicarious liability, and breach

of contract for the incident where JM took and disseminated a pornographic

photograph of the Plaintiff to other students within Dunmore. Dunmore and its

employees were aware of the students sharing this embarrassing and sensitive

photograph and did little to no investigation. Maldonado had dominion and control

over the cellular device used by the minor, JM at the time that device was utilized to

commit a willful tortious action against the Plaintiff, KL.




                                           2
           Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 3 of 47




      4.      Indeed, further embarrassment, injuries and losses to Plaintiffs could

have been prevented by the exercise of reasonable diligence on the part of

Defendants and were a highly predictable consequence of Defendants’ failure to

address the use of cellular devices on school property being utilized to disseminate

pornographic photo to students by students in violation of the Plaintiffs rights and in

violation of the Dunmore Student Handbook.

      5.      Dunmore and Lucas’ failure to take immediate and appropriate action

when made aware of the dissemination of the photograph horrifically resulted in

even further loss and damage to the Plaintiffs. Defendants caused and/or failed to

stop an attack on the Plaintiffs’ dignity as a human being.

      6.      Plaintiffs hereby respectfully request that this Honorable Court award

them appropriate compensatory and punitive damages for the Defendants’ egregious

failure to meet their legal obligations to the Plaintiff under the Counts of the

Complaint herein and more fully set forth below.

                                     PARTIES


      7.      Plaintiff, KL is a male and minor individual who resides at 136 Willow

Street, Dunmore, Lackawanna County, PA 18512.

      8.      Plaintiff, KL, brings this action by and through his parents and natural

guardians, Joseph Locker and Stacey Locker.




                                          3
            Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 4 of 47




       9.      Both Plaintiff Joseph Locker and Stacey Locker are adults and

competent individuals residing at 136 Willow Street, Dunmore, Lackawanna

County, PA 18512.

       10.     At all times material hereto, the Plaintiffs were residents of

Lackawanna County, the Commonwealth of Pennsylvania, located within the

Middle District of Pennsylvania.

       11.     At all times material hereto, the Plaintiff, KL, was enrolled in Dunmore

Middle School, located in Dunmore, Lackawanna County, Pennsylvania, a public-

school entity maintained, operated and/or controlled by the Dunmore School

District.

       12.     Defendant Dunmore School District is a governmental entity which

pursuant to State law and with receipt of a substantial amount of Federal funds,

provides educational services to school aged children residing in Lackawanna

County, including Dunmore, Pennsylvania. The School District is governed by a

board of directors that is commissioned by the Commonwealth of Pennsylvania to

administer, enforce, inter alia, the statutory mandates of the Individuals with

Disabilities Education Act, 20 U.S.C. Section 1400, et. seq (hereinafter referred to

as “IDEA”) Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. Section 794

(herein referred to as “Section 504”) and other related federally funded programs to

eligible students enrolled in the District. Dunmore School District’s administrative


                                           4
         Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 5 of 47




offices are located at 300 West Warren Street, Dunmore, Lackawanna County, PA

18512.

      13.    Defendant Lucas is a competent adult individual who is believed to

reside in Lackawanna County, Pennsylvania, and during the 2007-2008 school year

was employed by the Dunmore School District as the Middle School Principal with

a business address of 370 West Warren Street, Dunmore, Lackawanna County, PA

18512.

      14.    Defendant Maldonado is the parent and natural guardian of minor

Defendant, JM. Maldonado is sued in both her individual capacity and her capacity

as the parents and natural guardians of JM. She is an adult and competent individual

believed to be residing at 1109 Riverside Station Boulevard, Secaucus, Hudson

County, New Jersey 07094.

                          JURISDICTION AND VENUE

      15.    This Court has jurisdiction over this action pursuant to 20 U.S.C.

Section 1415(i)(2). Plaintiffs' claims arise from the IDEA and its implementing

regulations, 34 C.F.R. part 300, et. seq.; Section 504 of the Rehabilitation Act of

1973; and Section 1983 of The Civil Rights Act of 1964 (hereinafter referred to as

“Section 1983"), 28 U.S.C.S. Section 1331 provides that United States District

Courts have original jurisdiction over matters where a federal question is raised in

cases arising under the Constitution, laws, or treaties of the United States. 28 U.S.C.


                                          5
            Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 6 of 47




Section 1343 provides that United States District Courts have original jurisdiction

of any civil action to redress the deprivation, under color of any State law, statute,

ordinance, regulation, custom or usage, of any right, privilege or immunity secured

by the Constitution of the United States or by any Act of Congress providing for

equal rights of citizens or of all persons within the jurisdiction of the United States.

This Court exercises supplemental jurisdiction over Plaintiffs' state-law tort claims

pursuant to 28 U.S.C. Section 1367.

       16.     Venue is proper in this Court pursuant to 28 U.S.C. Section 1391(b) as

the Defendants are located in this judicial district and conduct business within this

Judicial District and all Plaintiffs reside and their claims arose within this Judicial

District.

                             FACTUAL BACKGROUND

       17.     At the time of this incident, minor plaintiff KL was a fourteen (14) year

old, eighth (8th) grade male student in the Dunmore Middle School within the

Defendant Dunmore School District.

       18.     Further, KL is eligible for special education services and has disabilities

that impact his life.

       19.     Specifically, KL was diagnosed in First Grade with Attention Deficit

Hyperactivity Disorder (ADHD) and has been receiving special needs education

ever since.


                                             6
         Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 7 of 47




      20.    While KL’s educational instruction is substantially through a general

education classroom and curriculum, he is entitled through an Independent

Educational Plan to be granted several modifications including but not limited to:

             a.     taking quizzes and tests in a resource room;
             b.     [KL] will be allowed extended time to complete
                    tests and quizzes;
             c.     The general education teacher will provide a copy
                    of notes to [KL] for Science and Civics classes;
             d.     [KL] will be allowed the use of a calculator during
                    math assessments.
             e.     Modified assessments: Limit 4 to 3 choice on
                    multiple choice tests

      21.    Additionally, Dunmore School District provides students with a

handbook that puts forth the rules and regulations for students who attend Dunmore

Middle School.

      22.    The handbook contains the Dunmore Mission Statement which in part

states that “all educational programs shall be safe, enjoyable and challenging,

offering success to their participants” (emphasis added).

      23.    Furthermore, in a statement to parents and students included in the

handbook, Defendant Lucas states that “[a]s partners, we share the responsibly for

each child’s success and want you to know that we will do everything to carry out

our responsibilities.”

      24.    Additionally, the statement reads that “[i]t is the responsibility of every

student and family to become familiar with our procedures and expectations”.


                                           7
         Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 8 of 47




      25.    Unfortunately, Defendants Dunmore and Lucas failed to live up to these

expectations.

      26.    On or about November 7, 2021, Plaintiffs were made aware by the

Dunmore that Defendant JM used a cellular telephone provided by his parent to

photograph Plaintiff KL inside of a bathroom stall in the Dunmore Middle School

while he was urinating with his genitals exposed.

      27.    KL remembered that a few days earlier, he requested to go to the

restroom while in class.

      28.    When KL went into the hallway, he was followed out of his classroom

by JM.

      29.    When KL entered the restroom, he immediately went into the stall.

      30.    It was common knowledge amongst students at Dunmore that people

were taking photographs and videos of students using the rest room so many

students, like KL used the stalls to try and protect their privacy.

      31.    KL knew JM was in the restroom and saw him in the stall next to him.

      32.    Additionally, KL heard JM laughing while in the restroom.

      33.    While walking back to class, JM told KL that he took a picture of him,

but seemed to be saying it in a joking manner.

      34.    At the time, KL did not believe that JM took a photograph.




                                           8
         Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 9 of 47




      35.    However, in a willful, intentional, cruel and degrading manor,

Defendant JM used the cellular telephone provided by his parent in order to utilize

the photograph to embarrass and harass his disabled classmate by disseminating it

through the application Snapchat.

      36.    Additionally, KL became aware through a published news story that JM

is a transgender student who was born female.

      37.    JM was allowed by Dunmore and Lucas to use the boy’s restroom

without regard for other minor students’ privacy.

      38.    At the time of this incident, JM, a biological female was in the boy’s

restroom with KL, a male minor student.

      39.    Interestingly, the Handbook provided to students prohibits students

from having their cell phones while in school requiring that upon entering the school,

students must place all electronic devices in their locker or in device holders in their

classrooms while they are in that particular class.

      40.    Clearly, this was not enforced by Defendants the Dunmore School

District or Lucas as JM had a cellular phone provided by his parents while he was

on school property, during school hours.

      41.    Additionally, it was common knowledge among staff and students

alike, that the regulation regarding the use of cellular phones was not effectively

enforced by the staff and administration of the Dunmore School District.


                                           9
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 10 of 47




      42.     Furthermore, in an effort to “safeguard[] against inappropriate

invasions of persons privacy rights”, the Handbook also prohibits the taking of

videos and/or photographs of other students without their consent.

      43.     Clearly, this portion of the Handbook was not being enforced by

Defendants Dunmore or Lucas.

      44.     Shockingly, Defendant JM then disseminated the pornographic

photograph to other students.

      45.     Another student informed Defendant Lucas of the existence of the

photograph.

      46.     After Defendant Lucas and the School Resource Officer (SRO)

Springer became aware of the incident, an alleged investigation began.

      47.     KL spoke with Lucas and SRO Springer and told them what had taken

place on the day he was in the restroom with JM.

      48.     Upon notifying KL’s parents, Lucas told them that they believed JM

took a pornographic photograph of KL, that the photograph was taken and shared on

Snapchat, and because of the nature of Snapchat, there was nothing else the school

could do to track down when and where the photograph was shared, which is simply

not true.

      49.     It is believed that JM was brought into Lucas’s office and asked about

incident, but nothing was done.


                                         10
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 11 of 47




      50.     No suspension or punishment was handed down by Dunmore or Lucas

with respect to the violations of the Student Handbook by JM.

      51.     Based on this simplistic and lackadaisical investigation, Lucas blatantly

lied to Plaintiff Parents telling them that there was really nothing else that could be

done to ensure that there was no photograph of their son out there or anyway to find

out who had the photograph amongst the Dunmore students.

      52.     Defendants Dunmore and Lucas had a duty to ensure the safety,

security, dignity, and integrity of KL’s educational setting, specifically where a

student was being harassed, embarrassed and the subject of criminal activity by other

students based on his disability.

      53.     Lucas only asked JM some questions and simply decided to “sweep”

the incident “under the rug”.

      54.     Having faith in the Dunmore School District and Lucas, Plaintiffs took

their word that actions would be taken to ensure this would not continue within the

district anymore, especially since it was common knowledge that there were other

issues in the boy’s restroom at the school.

      55.     JM a minor, did not have the capacity to enter into a contract for cellular

phone service. As such, it is believed that Defendant Kristie Maldonado had

dominion and/or control over the use of the cellular device in Defendant JM’s

possession.


                                           11
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 12 of 47




      56.       Furthermore, as JM’s parent, Maldonado had the ability and duty to

supervise how JM utilized the cellular device and failed to do so.

      57.       The actions of Dunmore and Lucas, at all times relevant herein were

carried out willfully, wantonly and maliciously with reckless disregard as to the

consequences as to reveal a conscious indifference to the rights of KL and establishes

intentional discrimination because of intentional and/or deliberate indifference

toward Plaintiff’s disability.

      58.       Given the incidents that occurred at Dunmore Middle School as

described herein, the failure of Dunmore and Lucas to enforce the Handbook rules

and regulations among its student population created a dangerous environment for

Plaintiff KL.

      59.       Nothing was done to stop JM from discriminating, harassing or

utilizing cellular devices in violation of the Handbook against other students in the

Dunmore School District, specifically in this case, KL.

      60.       Defendants Dunmore and Lucas had a policy and/or custom of ignoring

actual knowledge of violations of KL’s rights by both the District and other students,

and failing to appropriately investigate situations where inappropriate conduct was

reported and/or suggested; ignoring its mandatory reporting obligation; and

discouraging teachers and students from reporting abuses in an effort to protect




                                          12
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 13 of 47




themselves and their respective administrators, teachers, employees, and students

from scandal, adverse publicity and/or accountability.

      61.     Additionally, after and because of this incident, KL has continued to be

bullied by students adding to the damages he suffered as a result of the underlying

incident in the boy’s restroom on the date in question.

      62.     Plaintiff has suffered severe and permanent psychological damage,

physical harm, and emotional distress as a direct and proximate result of Defendants’

misconduct.

      63.     As a direct and proximate result of the violations of the Plaintiff’s civil

rights, he was caused to suffer sustained shock and injury to his nerves and nervous

system, including but not limited to, anxiety, depression, suicidal ideations,

embarrassment, mental anguish, and other injuries as set forth more fully herein, and

other severe and serious injuries, all of which are or may be permanent in nature.

      64.     Due to the damages suffered by KL as noted above, the Plaintiff was

required to be hospitalized for serious and severe suicidal ideations.

      65.     KL continues to suffer from the damage caused by this incident to the

date of this Complaint and into the future for an indefinite amount of time.




                                           13
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 14 of 47




                 COUNT I -VIOLATION OF CIVIL RIGHTS
                    42 U.S.C. Section 1983 and the I.D.E.A.
  Plaintiffs, Joseph and Stacy Locker, as parents and Natural Guardians of
  Minor, KL v. Defendants Dunmore School District and Christopher Lucas

      66.    The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      67.    Upon information and belief, the Defendants have failed to provide

Student with a free appropriate public education.

      68.    As a further result, the Defendant's failure to implement a proper

behavior management plan, failure to hire trained individuals in caring and

instructing special needs children and the defendant's failure to property place KL in

an appropriate setting where he would be free from physical abuse, mental abuse,

and or harassment by other students, Plaintiffs will have to incur additional expenses

for medical and educational services.

      69.    The Defendants' failure to provide KL with a free appropriate education

is a systematic legal violation which violates Student's civil rights.

      70.    Defendants owed KL a duty to provide free appropriate public

education under IDEA, 20 U.S.C. § 1400 et. seq.

      71.    Defendants further owed KL a duty to ensure that he would receive

educational services in a least-restrictive environment.

      72.    Defendants also owed KL a duty of care to refrain from physical and

mental abuse adequately in accordance with IDEA and the Pennsylvania Code.

                                          14
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 15 of 47




       73.    Defendants breached the duties described above by allowing another

student to violate the rules and regulations of the Handbook, to which Defendants

knew or should have known could lead to incidents like the one that has occurred

here violating the Constitutional Rights of Plaintiff, KL.

       74.    At all times material and relevant hereto, the actions and/or inactions of

all Defendants were performed under color of state law while acting in their official

capacities.

       75.    Defendants Dunmore and Lucas caused the harm complained of herein

in violation of IDEA and Civil Rights Act, 42 U.S.C. § 1983.

       76.    The actions by the Defendants constitute a pattern and practice of

failing to provide students with special needs and entitled to individual education

plans (IEPs), and KL in particular, an appropriate education for his educational needs

while protecting his privacy, bodily integrity and dignity as an individual with a

disability.

       77.    Plaintiff KL avers that Defendants had and have unconstitutional

customs, policies and practices of failing to investigate evidence of School District

employees failure to enforce rules and regulations in place along with failing to

appropriately investigate misconduct, abuse and or harassment against Dunmore

students by other Dunmore students in the nature of violations of their rights to

personal security, bodily integrity, as well as their right to be free from misconduct


                                           15
         Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 16 of 47




and/or abuse and/or harassment and/or discrimination, and failing to adequately

supervise and train School District employees with regard to mandatory reporting

obligations and maintaining, preserving and protecting students from violations of

their right to personal security and bodily integrity.

        78.   The conduct of Defendants, by and through their agents, employees,

servants and officers and other School District personnel, as set forth above, acting

under color of state law, in failing to put in place and enforce policies to adequately

protect students from inappropriate conduct, was committed in deliberate and/or

conscious disregard of the substantial and/or unjustifiable risk of causing harm to

KL and was such as to shock the conscious. Said conduct was the cause of KL’s

harm.

        79.   Plaintiff KL avers that the School District, by and through their agents,

employees, servants and officers and other School District personnel, followed these

unconstitutional policies, customs, and practices with regard to himself as hereafter

set forth.

        80.   The Defendants' actions constitute a conscious disregard for the

plaintiff's student's rights to a free appropriate public education.

        81.   The Defendants' actions were carried out willfully, wantonly, and

maliciously and with such reckless disregard for the consequences as to reveal a

conscious indifference to KL's rights to a free appropriate public education.


                                           16
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 17 of 47




      82.    As a result of the above-described violations, KL suffered damages.

      83.    As noted above, Plaintiff has suffered severe and permanent

psychological damage, physical harm, and emotional distress as a direct and

proximate result of Defendants’ misconduct.

      84.    As a direct and proximate result of the violations of the Plaintiff’s civil

rights, he was caused to suffer sustained shock and injury to his nerves and nervous

system, including but not limited to, anxiety, depression, suicidal ideations,

embarrassment, mental anguish, and other injuries as set forth more fully herein, and

other severe and serious injuries, all of which are or may be permanent in nature.

      85.    The conduct described above violated Plaintiff, KL’s Constitutional

right to Substantive Due Process and his right to be free from invasion of his personal

security and/or his right to bodily integrity, as guaranteed by the 14th amendment of

the United States Constitution and as remediable by 42 U.S.C. Section 1983.

      86.    Dunmore School District by and through their agents, employees,

servants and officers and other School District personnel, is a policymaker for the

purpose of implementing School District policies and customs.

      87.    As a direct and proximate result of the above stated acts and omissions,

Plaintiff KL has suffered such harm as has been previously stated here in for which

he is entitled to be compensated.




                                          17
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 18 of 47




      88.    The compensation sought in this matter falls outside the scope of

remedies available under the IDEA and therefore, the exhaustion of administrative

remedies would be futile in this matter.

      89.    Compensatory education, private school tuition reimbursement, private

evaluations and prospective relief available as remedies under the IDEA do not

address the underlying factually scenario as laid out above.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendants, Dunmore School District and Christopher Lucas, jointly and severally,

with an award of compensatory damages, interest, costs of suit, plus punitive

damages, and such other relief as the Court deems necessary and appropriate.

           COUNT II -VIOLATION OF THE 14TH AMENDMENT
                 Plaintiffs, Joseph Locker and Stacey Locker,
              as parents and Natural Guardians of Minor, KL v.
          Defendants Dunmore School District and Christopher Lucas

      90.    The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      91.    The Defendants' conduct in failing to provide KL with a free

appropriate public education constitutes unlawful discrimination against KL and

other special education children in violation of the equal protection clause of the

14th amendment and in violation of due process contrary to the 14th amendment to

the United States Constitution.



                                           18
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 19 of 47




      92.    The above-described actions of the Defendants were the direct and

proximate cause of Student's injuries aforesaid.

      93.    By reason of the aforesaid, KL's civil rights were violated as guaranteed

by federal statutes.

      94.    As a result of the above-described violations, Plaintiffs have suffered

damages as previously discussed.

      95.    By reason of the aforesaid, including the conduct of the Defendants

herein, the same shocks the conscience, so as to show minor KL's Civil Rights were

violated as guaranteed by the federal statutes.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendants, Dunmore School District and Christopher Lucas, jointly and severally,

with an award of compensatory damages, interest, costs of suit, plus punitive

damages, and such other relief as the Court deems necessary and appropriate.

    COUNT III -INDIVIDUALS WITH DISABILITY EDUCATION ACT
                         20 U.S.C. §1400 ET. SEQ.
               Plaintiffs, Joseph Locker and Stacey Locker,
           as parents and Natural Guardians of Minor, KL v.
       Defendants Dunmore School District and Christopher Lucas

      96.    The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      97.    The Defendants have violated the rights of the named Plaintiffs under

the Individuals with Disability Education Act (IDEA), 20 U.S.C. § 1400 et. seq. by


                                          19
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 20 of 47




failing to identify, evaluate, and provide the minor students, specifically in this case

KL, with a free appropriate public education and by allowing others to harass,

mentally abuse and violate his personal integrity and dignity based on his disability

as more particularly described above without KL's consent and in disregard to the

law.

       98.   As a result of the above-described violations, KL suffered damages

previously described above.

       WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendants, Dunmore School District and Christopher Lucas, jointly and severally,

with an award of compensatory damages, interest, costs of suit, plus punitive

damages, and such other relief as the Court deems necessary and appropriate.


               COUNT IV – VIOLATION OF THE AMERICANS
                       WITH DISABILITIES ACT (ADA)
                            42 U.S.C. §12100 ET. SEQ.
                   Plaintiffs, Joseph Locker and Stacey Locker,
                as parents and Natural Guardians of Minor, KL v.
                       Defendant Dunmore School District

       99.   The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

       100. The ADA provides that "no qualified individual with a disability shall,

by reason of such disability, be excluded from participation in or be denied the

benefits of the service, programs, or activities of a public entity, or be subjected to



                                          20
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 21 of 47




discrimination by any such entity." 42 U.S.C. § 12132.

      101. KL is disabled. He is a special needs student who has documented

disabilities which affect several major life activities.

      102. Despite his disabilities, KL was, at all times relevant hereto, a student

who is otherwise qualified to participate in defendant Dunmore's educational

programs with appropriate instruction, accommodation and/or supplemental

services and supports for the purposes of the ADA.

      103. Defendant Dunmore failed to provide KL with appropriate educational

and related services, accommodations and/or supplemental supports and services

which he required in order to have proper access to Dunmore’s programs and

services to make appropriate developmental and educational progress equal to that

provided to children who are not disabled or who do not have such disabilities.

      104. Dunmore's failure to provide a safe, appropriate educational

environment to KL, and its failure to properly accommodate his disabilities, has

exacerbated the impact of his disabilities, interfered with his ability to communicate

with others, and to meaningfully participate with typically developing peers.

Dunmore’s failure has also deferred KL's ability to be engaged and be included in

age-appropriate social, educational, and vocational programs, to take advantage of

opportunities and services to which he would have had access if he had received

appropriate related services and accommodations in a timely and effective manner.


                                           21
         Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 22 of 47




Therefore, Dunmore's failure excluded KL from participating in the mainstream

environment of his school, his community, his family and to equal access to

educational benefits, as enjoyed by his non- disabled classmates in safety based on

the needs of his specific disability, ADHD.

       105. Dunmore owed KL the duty of care to refrain and protect him from

harassment, embarrassment and a degradation of his dignity based on his disability

in accordance with the ADA, and specifically, owed him the duty to be free of

discrimination and abuse because of his disabilities.

       106. Upon information and belief, Dunmore discriminated against KL

because of his disabilities, as set forth herein, and further by failing to provide him

with the same protections and opportunities that other students were provided, and

by failing to protect him from the improper, cruel, and abusive treatment he suffered

as a result of his disabilities.

       107. Dunmore, at all times relevant hereto, was aware that as a child with

disabilities, KL had the right to be free of discrimination in the provision of his

education, and despite that knowledge, Dunmore failed to ensure that improper

actions by other students would not be perpetrated upon KL and when those

improper activities did occur, failed to properly investigate those allegations based

on KL’s disability.




                                          22
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 23 of 47




      108. Furthermore, it is clear that Dunmore and its agents, servants and

employees knew that violations of the Handbook were occurring and that that could

reasonably lead to occurrences like the cruel and discriminatory treatment by other

students, at Dunmore Middle School, yet Dunmore failed to properly train and

supervise its staff, and failed to ensure that staff assigned to student were properly

trained and supervised, allowing the current instance to take place.

      109. Dunmore was deliberately indifferent to KL's federally protected right

to be free from discrimination in his education, as well as his federally protected

right to be provided a Free Appropriate Public Education (FAPE).

      110. In placing KL in an educational environment in which he would be

subject to his privacy being invaded and his dignity destroyed by allowing other

students to blatantly violate Dunmore’s own Rules in Regulations in place to protect

students like KL, Dunmore knew or should have known that KL's rights were likely

to be violated.

      111. In failing to provide an appropriate educational environment, and to

meet the educational needs of KL, a disabled student, as adequately as it met the

needs of non-disabled students, Dunmore intentionally discriminated against KL

because of his disabilities.

      112. In failing to provide an appropriate educational environment, and to

meet the educational needs of KL, a disabled student, as adequately as it met the


                                         23
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 24 of 47




needs of non-disabled students, Dunmore was deliberately indifferent to KL's right

to be free of discrimination because of his disabilities.

      113. Dunmore's actions constituted discrimination against him, on the basis

of his disability, in violation of the ADA.

      114. As a result of these violations, as set forth herein, KL suffered damages

as described above.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendant, Dunmore School District, with an award of compensatory damages,

interest, costs of suit, plus punitive damages, and such other relief as the Court deems

necessary and appropriate.

             COUNT V – VIOLATION OF SECTION 504 OF
           THE REHABILITATION ACT 29 U.S.C. §794 ET. SEQ.
                Plaintiffs, Joseph Locker and Stacey Locker,
             as parents and Natural Guardians of Minor, KL v.
                    Defendant Dunmore School District

      115. Plaintiffs incorporate by reference the preceding paragraphs, including

specifically all of the paragraphs in Count I, as though set forth fully at length.

      116. The Rehabilitation Act provides that "no otherwise qualified individual

with a disability... shall, solely by reason of his or her disability, be excluded from

the participation in, be denied the benefits of, or be subjected to discrimination under

any program or activity receiving federal financial assistance" 29 U.S.C. § 794(a).




                                           24
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 25 of 47




      117. As a local educational agency, Dunmore receives federal financial

assistance.

      118. In failing to provide an appropriate educational environment, and to

meet the educational needs of KL, a disabled student, as adequately as it met the

needs of non-disabled students, Dunmore intentionally discriminated against KL

because of his disabilities.

      119. In failing to provide an appropriate educational environment, and to

meet the educational needs of KL, a disabled student, as adequately as it met the

needs of non-disabled students, KL was deliberately indifferent to KL's right to be

free of discrimination because of his disabilities.

      120. As set forth in detail in Count II, Dunmore's actions constituted

discrimination against him on the basis of his disability in violation of Section 504

of the Rehabilitation Act.

      121. As a result of these violations, as set forth herein, KL suffered

considerable damages as described herein.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendant, Dunmore School District, with an award of compensatory damages,

interest, costs of suit, plus punitive damages, and such other relief as the Court deems

necessary and appropriate.




                                          25
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 26 of 47




         COUNT VI – DISCRIMINATION PURSUANT TO TITLE IX
                            (20 U.S.C. § 1681, et. seq.)
                 Plaintiffs, Joseph Locker and Stacey Locker,
              as parents and Natural Guardians of Minor, KL v.
          Defendants Dunmore School District and Christopher Lucas

      122. The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      123. The failure of Dunmore School District and Lucas to enforce

policies and procedures set in place to protect students like KL and others, as set

forth herein, was so severe that the Plaintiff KL, was deprived of access to

educational opportunities and/or benefits provided by the Dunmore School

District, in safety.

      124. Dunmore School District and Lucas created and/or subjected to the

Plaintiff, KL, to a hostile educational environment in violation of Title IX of the

Education Amendments of 1972, 20 U.S.C. § 1681(a) (hereinafter referred to

as “Title IX”).

      125. At all times material hereto, the Plaintiff KL, was a member of a

protected class.

      126. At all times material hereto, Plaintiff KL was subjected to an unsafe

and hostile educational environment for a student with a disability such as

ADHD.

      127. At all times material hereto, the Plaintiff KL, was subjected to


                                        26
       Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 27 of 47




having a pornographic photograph taken of him and disseminated to other

students in the form of discrimination by the District Defendants in their

failure to enforce policies and procedures students and parents alike were

ensured would be in place.

      128. At all times material hereto, KL was subject to harassment based

on his disability.

      129. At all times material hereto, Plaintiff KL, was subjected to a hostile

educational environment created by Dunmore and Lucas’, either individually

and/or jointly, lack of the enforcement of policies and procedures, and failure

to properly investigate and/or address the lack of enforcement of policies and

procedures students and parents were ensured were in place.

      130. Upon information and belief, Dunmore and Lucas, either

individually and/or jointly, by and through its agents, servants, administration

and/or employees, had actual knowledge of the harassment of Plaintiff KL.

      131. Dunmore and/or Lucas’ failure to promptly and appropriately

respond to the harassment which resulted in the Plaintiff KL, on the basis of

his disability, being denied the benefits of a safe, secure and non-hostile

education setting and being subjected to discrimination in the Dunmore

School District's education programs in violation of Title IX.

      132. Dunmore and/or Lucas, either individually and/or jointly, failed to


                                       27
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 28 of 47




take immediate and effective remedial steps to resolve the complaint that a

photograph, both pornographic in nature and in harassment of Plaintiff KL based

on his disability, and instead acted with deliberate indifference towards the

Plaintiff, KL.

      133. Dunmore and/or Lucas, either individually and/or jointly,

persisted in its actions and inactions even after it has actual knowledge of the

harm suffered by the Plaintiff, KL.

      134. Thus, Dunmore and/or Lucas, either individually and/or jointly,

engaged in a pattern and practice of unlawful behavior designed to discourage

and dissuade students, such as KL, and the parents of students who had been

harassed, embarrassed and had his dignity stripped from him from seeking

prosecution and protection, and from seeking to have this incident fully

investigated.

      135. The unlawful policy and practice of Dunmore and/or Lucas, either

individually and/or jointly, as set forth herein, constituted disparate treatment of

disabled students and had a disparate impact on disabled students.

      136. As the direct and proximate result of the actions and inactions of

Dunmore and/or Lucas, either individually and/or jointly, KL has sustained the

injuries and damages, as described herein.

      137. Dunmore and/or Lucas, either individually and/or jointly, acted with


                                        28
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 29 of 47




deliberate indifference with respect to addressing harassment that they knew had

occurred and continued to occur.

      138. KL’s educational experience was thereafter permeated with

discriminatory intimidation, ridicule, embarrassment and insult that was

sufficiently so severe and/or pervasive so as to alter the conditions of the KL’s

educational environment.

      139. As the direct and proximate result of Dunmore and/or Lucas’

conscious, deliberate and/or intentional actions and/or omissions, either

individually and/or jointly, KL has suffered, and will continue to so suffer,

indefinitely into the future.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendant, Dunmore School District, with an award of compensatory damages,

interest, costs of suit, plus punitive damages, and such other relief as the Court deems

necessary and appropriate.


                      COUNT VII- 42 U.S.C. Section 1983 –
                    FAILURE TO TRAIN AND SUPERVISE
                   Plaintiffs, Joseph Locker and Stacey Locker,
                as parents and Natural Guardians of Minor, KL v.
                       Defendant Dunmore School District

      140. Plaintiff incorporates the previous paragraphs of this complaint as if

fully set forth at length herein.




                                          29
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 30 of 47




      141. Dunmore along with their teachers, administrators, officers, board

members, agents, and employees of Defendant were state actors working for

defendant and received federal funding at all times relevant hereto.

      142. Dunmore along with their teachers, administrators, officers, board

members, agents, and employees of Defendant acted under color of state law at all

relevant times herein.

      143. Prior to and during the incident involving KL, Dunmore and other

employees and officials of the School District knew about the blatant violations of

the Handbook rules and regulations regarding the use of cellular devices within the

school building and knew or should have known that in failing to enforce their own

rules and regulations that an incident like the one involving KL that gives rise to this

suit was likely to happen. Nonetheless, no appropriate, effective, or adequate steps

were taken to protect KL.

      144. During the period of the incident, Dunmore and other school employees

and officials of the School District became aware that a pornographic photograph

was being disseminated via Snapchat throughout the Dunmore Middle School and

that students were in violation of the Handbook. However, no proper inquiries were

made, and no corrective action was taken leading to possible further dissemination

of the inappropriate and cruel photo taken of KL without his consent.




                                          30
         Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 31 of 47




      145. Dunmore and their teachers, administrators, officers, board members,

agents and or employees knew or should have known that their response to any

abuse, harassment, or discrimination allegations must comply with federal law.

      146. Dunmore failed to properly train and supervise their teachers,

administrators, officers, agents, and/or employees as to mandated investigative

requirements, which include:

             a. failing to take immediate and appropriate action to investigate or
                otherwise what occurred once informed of possible violations;

             b. failing to take prompt and effective steps to end the abuse, prevent
                its recurrence, and address its effects;

             c. failing to promptly report abuse and/or harassment of students
                including plaintiff KL, in accordance with their legal obligations;
                and

             d. failing to take reasonable and necessary steps to protect KL and
                other minor students from abuse, violations and/or from suffering
                collateral harms and injuries as described above.

      147. Dunmore's failure to train their teachers, administrators, officers, board

members, agents and/or employees to deal with actual, apparent, or suspected

criminal activity that is the direct, legal, and proximate cause of the harm suffered

by KL.

      148. Dunmore's failure to provide proper and adequate training to their

teachers, administrators, officers, agents, and/or employees constituted deliberate

indifference to the presence of excessive risk of danger to the health, welfare and


                                         31
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 32 of 47




safety of students at the Defendant School District, including Plaintiff KL.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendants, Dunmore School District and/or Christopher Lucas, with an award of

compensatory damages, interest, costs of suit, plus punitive damages, and such other

relief as the Court deems necessary and appropriate.


                                  COUNT VIII
                           VICARIOUS LIABILITY
                 Plaintiffs, Joseph Locker and Stacey Locker,
              as parents and Natural Guardians of Minor, KL v.
          Defendants Dunmore School District and Christopher Lucas

      149. The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      150. Dunmore held Lucas out to be a trusted administrator and principal,

specifically having him place a statement in the Handbook of rules and regulations.

      151. At all times material and relevant hereto, Lucas was acting as an agent,

servant and/or employee of Dunmore, in performing the duties and functions

empowered to him as a principal for the School District.

      152. In the course of performing his duties and functions, Lucas utilized the

power, authority, and trust conferred upon him by virtue of his position as a principal.

      153. While acting within the scope of his employment with Dunmore, Lucas

failed to appropriately investigate actions of minor students which was in violation

of the previously described statutory and Constitutional rights of Plaintiff, KL, a


                                          32
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 33 of 47




disabled minor and these actions and/or inactions were committed with the apparent

authority of the Defendant Dunmore School District.

      154. By nature of the agency relationship between Dunmore, and by virtue

of the frequent and consistent communication between defendants, Lucas and other

employees and/or administrators, Lucas knew and had reason to know of the

violations against KL.

      155. During the relevant time frame, in which Lucas was principal, he had

day-to-day control over the manner of the enforcement of both the Handbook

regulations and Dunmore’s compliance with the statutory and Constitutional

provisions alleged to have been violated here and how those objectives were

accomplished within the Dunmore Middle School.

      156. In light of the aforementioned notice of violations against Plaintiff, KL,

and in light of the complete lack of supervision over Dunmore’s employees in

enforcing sham policies in place to create a façade of protection for students like KL,

it is not unexpected by Dunmore or Lucas that such an incident could and did occur.

      157. The tortious conduct of Lucas, as more fully set forth in this Complaint,

was directly related to his employment with Dunmore as a principal.

      158. As such, Dunmore is vicariously liable for the tortious actions of

Defendant Lucas and/or any other employee.




                                          33
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 34 of 47




      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendants, Dunmore and Christopher Lucas, jointly and severally, with an award

of compensatory damages, interest, costs of suit, plus punitive damages, and such

other relief as the Court deems necessary and appropriate.


                                  COUNT IX
                                 NEGLIGENCE
                 Plaintiffs, Joseph Locker and Stacey Locker,
              as parents and Natural Guardians of Minor, KL v.
          Defendants Dunmore School District and Christopher Lucas

      159. The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      160. At all times material and relevant hereto, Lucas was acting in the scope

and authority of their employment within Dunmore.

      161. Lucas was required, as per the Department of Education, to maintain

his professional certificates, and keep the same current and active.

      162. The Pennsylvania Department of Education, through its teachers'

certification process ensures that teachers, administrators, and counselors are

properly trained.

      163. At all times material and relevant hereto, the teachers, administrators,

and counselors of Dunmore were also responsible for ensuring that each of its

employees were adequately trained.




                                         34
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 35 of 47




      164. Under Pennsylvania law, Section 504 and the ADA, the School District,

by and through its agents, servants and employees breached the following duties

herein included.

      165. The negligence, carelessness and recklessness of Dunmore constituted

of the following:

             a. Failure to properly supervise subordinates;

             b. Failure to comply with federal, state and school district statutes,
                laws, regulations, policies and practices and customs;

             c. Failure to endeavor to maintain the health, safety, and welfare for
                the students;

             d. Failure to arrange for the creation, revision and publication of the
                schools’ regulations, policies, and procedures;

             e. Failure to hold in-service training;

             f. Failure to work with teachers and supervisors to ensure education
                programs are delivered to each student consistent with the teachers'
                lesson plans as may be individualized education or program;

             g. Failure to ensure that students state created right to a free and
                appropriate public education was not denied, absent due process of
                law;

             h. Failure to ensure that all students with disabilities as well as those
                without are treated equally under applicable local, state and federal
                policies, rules, regulations and statutes;

             i. Failure to ensure that KL’s educational plan was adequate to meet
                his needs, and that his program was safe, appropriate and properly
                supervised, free from unreasonable and foreseeable risks of harm
                and provided a proper grouping of students;


                                         35
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 36 of 47




             j. Failure to supervise the district staff, its program, plaintiff KL and
                other students;

             k. Failing to exercise reasonable care under all the existing
                circumstances.

             l. Failing to appropriately investigate claims of harassment, invasion
                of privacy and criminal acts committed upon a student, specifically
                a student with a disability, by other students under their dominion
                and control.

      166. The negligence, carelessness and/or recklessness of Dunmore, by and

through its agents and/or employees, as outlined above, was the proximate cause of

the injury sustained by KL as outlined herein.

      167. As a result of the negligence, careless and/or recklessness of Dunmore,

by and through its agents and/or employees, as described herein, and the individual

Defendants, KL was photographed, without his consent in a pornographic manner;

that photo was disseminated, Dunmore failed to immediately and appropriately

protect the rights of KL based on his disability and Plaintiff suffered damages as a

direct and proximate result.

      168. By reason of the negligence, carelessness, and recklessness of

Dunmore, by and through its agents and/or employees as described above, KL has

sustained serious and permanent personal injuries, as a result of which he has

suffered and yet suffers and shall continue to suffer for an indefinite period of time

into the future.




                                         36
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 37 of 47




      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendants, Dunmore School District and Christopher Lucas, jointly and severally,

with an award of compensatory damages, interest, costs of suit, plus punitive

damages, and such other relief as the Court deems necessary and appropriate.


                                     COUNT X
                              BREACH OF CONTRACT
                   Plaintiffs, Joseph Locker and Stacey Locker,
                as parents and Natural Guardians of Minor, KL v.
                       Defendant Dunmore School District

      169. The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      170. Dunmore and Lucas, either individually and/or jointly, by and through

their agents, servants, administration and/or employees, breached the Dunmore

Middle School Student Handbook when they wholly neglected to do and perform

certain things which were expressly or by implication required to be done and

performed.

      171. The Dunmore Middle School Student Handbook operates as a valid and

binding contract by and between Dunmore and the students in Defendants' District,

such as the minor-Plaintiff, KL.

      172. The material omissions and/or failures of the District Defendants, either

individually and/or jointly, by and through their agents, servants, administration

and/or employees, consisted of, but are not limited to, the following:


                                         37
       Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 38 of 47




            a. Failing to conduct an immediate formal investigation of the
               allegation that harassment, bullying and/or criminal activity had
               taken place with KL as the victim;

            b. Failing to inform the minor-Plaintiff, KL through his parents and
               natural guardians, of his rights and of the complaint process;

            c. Failing to prepare a written report summarizing the investigation
               and recommending disposition of the complaint;

            d. Failing to take prompt corrective action to ensure that continued
               harm to Plaintiff KL would not occur;

            e. Failing to abide by the KL’s, Educational Plan;

            f. Failing to abide by the KL's, Service Agreement in violation of the
               Rehabilitation Act of 1973 (20 U.S.C.A, § 794);

            g. Failing to protect KL, as a victim of violations of both his rights and
               the Student Handbook;

            h. Failing to expel, remove or transfer minor Defendants immediately
               for acts constituting expellable offenses under the Student
               Handbook;

            i. Failing to act in accordance with the Public-School Code as
               identified in the Student Handbook; and

            j. Failing to act in accordance with Title IX as identified in the Student
               Handbook.

       173. Dunmore and Lucas, either individually and/or jointly, by and through

their agents, servants, administration and/or employees, have refused, and continue

to so refuse, to cure the aforementioned breaches, despite Plaintiffs repeated

demands.




                                         38
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 39 of 47




      174. As the direct and proximate result of the above breaches, the Plaintiff

has been damaged in an amount to be determined at trial.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendants, Dunmore School District and Christopher Lucas, jointly and severally,

with an award of compensatory damages, interest, costs of suit, plus punitive

damages, and such other relief as the Court deems necessary and appropriate.

                                    COUNT XI
                          NEGLIGENT ENTRUSTMENT
                  Plaintiffs, Joseph Locker and Stacey Locker ,
               as parents and Natural Guardians of Minor, KL v.
                Kristie Maldonado, in her individual capacities

      175. Plaintiffs hereby incorporate and reaver the allegations contained in the

preceding paragraphs as if set forth herein at length. The preceding paragraphs are

incorporated herein by reference as if fully set forth here at length.

      176. In today’s day and age, where almost daily, we see individuals,

specifically minors, attempting to gain fame via the internet and social media

applications through dangerous or criminal acts, it is not unreasonable to think that

minors who are provided cellular telephones could attempt to utilize the camera

and/or unrestricted access to social media applications and phone capabilities,

including but not limited to Airdrop, text messaging and Snapchat, could potentially

be utilized by minors to cause harm to others.




                                          39
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 40 of 47




      177. The stories of cellular telephones being utilized in these types of

situations is glorified by social media, the news media and other media outlets.

      178. It is almost impossible to be immune to the fact that cellular phone

usage by minors is potentially dangerous and harmful to not only the minor child

entrusted with the phone but to those who can be recorded via photograph or video,

or what the child can be exposed to when allowed by the owner of the phone to have

unrestricted access to the internet and communication with others.

      179. Daily we see the harm that can be caused by minors and their utilization

of what was once a way to maintain contact with family members or to let others

know you are safe have turned into handheld computers that give you access around

the world all while sitting in a classroom or a lavatory.

      180. Cellular telephone technology, as suggested above, gives the user

access to disseminate data, video, photographs and information to hundreds of

people in just the simple touch of a button in the palm of your hand.

      181. With that power comes great access to act negligently, carelessly and/or

recklessly causing harm to others.

      182. Specifically in this case cellular telephones provided to the minor JM,

allowed them to act negligently, carelessly, and recklessly causing harm to Plaintiff,

KL.




                                          40
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 41 of 47




      183. Parents must realize that minors often don’t realize the consequences

of their actions and when armed with a handheld computer, the ability to act

negligently, carelessly and/or recklessly and cause harm to others is vast with no

ability to retract the damage that can be done.

      184. Cyberbullying and its effects on children have riddled throughout the

media since as early as 2007. The ability minors hold in their hands when

unrestricted or unmonitored has become common knowledge in our society.

      185. Kristie Moldonado is the parent and natural guardian of JM and was the

owner and in dominion and control of the cellular telephone and the cellular service

plan used by JM to obtain and disseminate the photograph in question to other

students.

      186. Maldonado knew or should have known that her child could likely use

the cellular phone in a manner that may unreasonably harm others, specifically in

this case Plaintiff KL.

      187. Maldonado was negligent in entrusting her minor child with cellular

telephones as follows:

             a. Failing to monitor her child’s usage of cellular telephone they
                provided as to the use of applications and recording of others;

             b. Failing to utilize parental controls to ensure that her minor child was
                not engaged in negligent, careless or reckless activities utilizing the
                cellular telephones that she provided to the minor;




                                          41
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 42 of 47




             c. Providing unrestricted sharing and access, either via cell phone
                signal or internet access, to cellular telephones she provided to her
                minor child during school hours in violation of Dunmore’s Student
                Handbook; and

             d. Failing to block applications that allow children to share or engage
                in publicly sharing or receiving pornographic material on cellular
                devices she provided to her minor child.

      188. Maldonado’s negligent entrustment of the cellular telephone was a

direct and proximate cause of Plaintiff, KL’s harm and damages.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendant, Kristie Maldonado, with an award of compensatory damages, interest,

costs of suit, plus punitive damages, and such other relief as the Court deems

necessary and appropriate.


                                 COUNT XII
         INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
     Plaintiffs, Joseph Locker and Stacey Locker, as parents and Natural
   Guardians of Minor, KL v. Christopher Lucas and Kristie Maldonado, as
                      parent and natural guardian of JM

      189. The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      190. The conduct of Defendant JM, as set forth above, including the

production and dissemination of the photograph in question, constituted outrageous

conduct utterly intolerable in a civilized society, and that conduct led to severe

emotional distress for the Plaintiff.



                                         42
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 43 of 47




        191. Defendant Lucas, in failing to appropriately investigate the allegations

of the photograph in question, intentionally, recklessly and/or deliberately inflicted

extreme emotional distress upon Plaintiff by his failure to take action with respect to

stopping the dissemination of the photograph and removing those responsible from

KL’s education setting.

        192. Named Defendants are therefore liable to Plaintiff for intentional

infliction of emotional distress.

      WHEREFORE, the Plaintiffs demand judgment be entered against,

Christopher Lucas and Kristie Maldonado, as parent and natural guardians of JM,

jointly and severally, with an award of compensatory damages, interest, costs of suit,

plus punitive damages, and such other relief as the Court deems necessary and

appropriate.


                                    COUNT XIII
                               PUNITIVE DAMAGES
                   Plaintiffs, Joseph Locker and Stacey Locker,
                as parents and Natural Guardians of Minor, KL v.
                                   All Defendants

      193. The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      194. The aforementioned conduct of the Defendants was outrageous and/or

done willfully, wantonly, and/or with reckless indifference to the rights of KL.




                                          43
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 44 of 47




      195. Defendants Dunmore and Lucas knew their acts to conceal the known

dissemination of an unlawfully obtained pornographic video by minor Defendants

and to not fully investigate, remove the students involved or take action to protect

KL from further harm, created an unreasonable risk that incidents similar to this

would continue to occur.

      196. Nevertheless, Dunmore and Lucas’ continuous and systematic conduct,

was intentional and malicious, and thereby exhibited reckless indifference to the

rights, safety and well-being of special educations students, including KL.

      197. Minor Defendant’s actions were outrageous and/or done willfully,

wantonly, and/or with reckless indifference to the harm it would cause to KL.

      198. Defendants, all of them in their own right, and with full knowledge of

the risk of harm to KL, outrageously, maliciously, wantonly, and willfully caused the

harm and damages to KL.

      199. Additionally, Defendants Dunmore and Lucas, upon knowledge of the

existence of the video, deliberately failed to report said abuse as required under

Pennsylvania’s Child Protective Services Law, 23 Pa.C.S.A. Section 6302, et. seq.,

in conscious disregard of the aforementioned risk of harm to their students, including

KL.

      200. As a direct and proximate result of the reckless, outrageous, wanton,

willful and malicious conduct of Defendants, KL has incurred damages.


                                         44
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 45 of 47




      201. As a direct and proximate result of Defendants’ reckless, outrageous,

wanton, willful and malicious conduct, KL has suffered a loss of life’s pleasures.

      202. The conduct of the Defendants was extreme and outrageous conduct,

which conduct was committed in willful, wanton, reckless, and in total disregard to

the rights, safety and well-being of KL entitling Plaintiffs to an award of punitive

damages, and claim is made therefore.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

all Defendants, jointly and severally, with an award of compensatory damages,

interest, costs of suit, plus punitive damages, and such other relief as the Court deems

necessary and appropriate.

                               COUNT XIV
                       DEMAND FOR ATTORNEY’S FEES

      203. The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      204. Statutes raised in Counts IV and V of this Complaint contain fee

shifting provisions.

      205. Given the likelihood of success of these claims, Plaintiffs seek full

reimbursement for fees and costs associated with this present litigation under

Section 504 in the ADA.




                                          45
         Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 46 of 47




        206. Plaintiffs reserve the right to amend and submit their invoices

regarding attorneys’ fees and costs associated with litigation relating to this matter

through a subsequent fee petition, if necessary.

        WHEREFORE, Plaintiffs respectfully request this Honorable Court award

judgment to the Plaintiffs respectfully request this Honorable Court award

judgment to the Plaintiffs and against defendant, Dunmore School District, for

reasonable attorney’s fees and costs under Section 504 and ADA.

                                RELIEF REQUESTED

        WHEREFORE, Plaintiffs seek monetary damages and reasonable attorney's fees

and costs under Section 504, ADA and Pennsylvania law, inter alia, from the

Defendants, including the following:

        1.    Assume jurisdiction over this action;

        2.    Enter Judgment for an award of damages pertaining to educational and

emotional harm associated with the Defendants' conduct as described in the Complaint

against the Defendants

        3.    Order appropriate monetary relief, and declare the Defendants to be in

violation of Section 504, the ADA, Section 1988 and other Federal and Pennsylvania

laws;

        4.    Order the Defendants to compensate Plaintiffs for the reasonable

attorney's fees and related costs associated with the present litigation, pursuant to Section

                                             46
        Case 3:24-cv-01461-JFS Document 1 Filed 08/28/24 Page 47 of 47




504, ADA, Section 1988 and other Federal Laws.

      5.     Award compensatory damages to KL and Plaintiffs for injuries, pain and

suffering, both past, present and future as well as punitive damages;

      6.     Order to change the policy, practice and customs regarding disability

discrimination described herein;

      7.     Grant such other relief as this Court deems proper.

                             JURY TRIAL DEMAND

      Plaintiff demands a jury trial, pursuant to the Seventh Amendment to the

Constitution of the United States, as to all claims for damages.


                                   Respectfully submitted:

                                   THE MATTIOLI LAW FIRM

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                                           47
